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UNITED 'STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

IMAGENETIX, INC., Case No. SACV15-599 ILS (JCGX)
Plaintiff,
V. JURY VERDICT FORM

ROBINSON PHARMA, INC., et. al.,

_Defendants.

 

 

 

 

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SPECIAL VERDICT FORM

When answering the following questions and filling`out this Verdict Form,
please follow the directions provided throughout the form. Your answer to each
question must be unanimous. Some of the questions contain legal terms that are
defined and explained in detail in the Jury Instructions. Pl'ease refer to the Jury
Instructions if you are unsure about the meaning or usage of any legal term that

appears in the questions below.
FINDINGS ON THE JURY:

We, the jury, unanimously agree to the answers to the following questions and

return them under the instructions of this court as our verdict in this case:

Infringement _
l. Has Plaintiff proven that it is more likely than not that Defendants induced

their customers to infringe the ‘676 patent?
Yes: l No: _
If you answered “No” to Question 1, please proceed directly to the end of `
the form (Page 3), sign and date it, and inform the bailiff that you have
reached a verdict. If you answered “Yes” to Question 1, please proceed to

Question 2.

Willfulness
2. Has Plaintiff proven that it is more likely than not that Defendants’ `

infringement of they6 patent was willful?
Yes: . No:

If you answered “Yes” to Question 2, please proceed to Question 3. If you

answered “No” to Question 2, please also proceed to Question 3.

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Damages
3. What has Plaintiff proven it is entitled to as a reasonable royalty for

Defendants’ infringing sales?

Please complete only one of the two methods provided below.

a. A royalty payment of x % = $
' [base revenue] [rate]

OR

b. A fixed number of dollars per unit soldi$- 97 (F X giciq 01533= $ id g?)$i,<$"i;
[dollars] [units sold]

You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations The Presiding Juror should sign
and date the verdict form in the spaces below and notify the Bailiff that you have
reached a verdict. The Presiding Juror should retain possession of the verdict form

and bring it when the jury is brought back into the courtroom.

Dated:' O\|Q§ \\`7 Signed: _

Presiding Juror

 

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